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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

vs. Civil/Criminal No.: CR 21-552

KENNETH THOMAS

 

NOTE FROM JURY

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